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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

      MAYA PARIZER et al.,

                       Plaintiffs,                         Civil No. 1:24-00724-RDA-IDD

            v.

      AJP EDUCATIONAL FOUNDATION, INC.
      et al.,

                    Defendants.


     DEFENDANT AJP EDUCATIONAL FOUNDATION’S UNOPPOSED MOTION FOR
            EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS

        Defendant AJP Educational Foundation, Inc., d/b/a American Muslims for Palestine

(“AMP”) by and through undersigned counsel, pursuant to Local Rule 7, moves this Court for an

extension of time to respond to Plaintiffs’ Complaint by 45 days, up to and including July 12,

2024. 1 Defendant’s current deadline is May 28, 2024. Defendant’s counsel conferred via email

with counsel for Plaintiffs, who advise that they do not oppose this extension. See e-mail at Exhibit

A hereto. Defendant files a proposed order as well attached hereto. In support of this Motion,

Defendant presents the following:

        Plaintiffs filed their Complaint in this Court on May 1, 2024. On May 2, this Court issued

Summons as to Defendant AMP. Plaintiffs served Defendant via its Executive Director, Osama

Abuirshaid, on May 7, 2024. Undersigned counsel, Christina Jump, who has represented AMP in


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   This Motion is on behalf of, and undersigned counsel represents only, AJP Educational
 Foundation, Inc., d/b/a American Muslims for Palestine (“AMP”). While Plaintiffs’ counsel lists
 in the Complaint that Defendant National Students for Justice in Palestine (“NSJP”) may be
 served at AMP’s place of business, these are separate defendants and both AMP and the
 undersigned counsel refused to accept service for NSJP. As evidenced by publicly available
 documents, and as explained to counsel for Plaintiffs, there is zero corporate relationship between
 AMP and NSJP. AMP is not the “parent” of NSJP in any form. See Exhibit A.
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separate federal civil litigation for eight years, is based in Texas and began searching in earnest

for local counsel to support this litigation per this Court’s Local Rules. Therefore, on Tuesday,

May 21, Ms. Jump contacted Plaintiffs’ counsel to inquire whether they would oppose a 45-day

extension to Defendant’s deadline to respond. Plaintiffs’ counsel indicated that they would not.

Exhibit A.

       Defendant seeks this extension, in part because it only recently secured local counsel for

this matter, in accordance with this Court’s Local Rules. Further, the Complaint in this matter

constitutes 141 paragraphs. Therefore Defendant requires additional time to prepare its response.

This request is submitted in good faith, and not for the purposes of delay.

       Accordingly, Defendant AMP respectfully requests a 45-day extension to file a response

to the Complaint, up to and including July 12, 2024.

       Defendant AMP waives a hearing.


Respectfully submitted this 24th day of May, 2024.


                                               /s/ George R.A. Doumar
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                                              Christina A. Jump
                                              (pro hac vice forthcoming)
                                              Samira Elhosary
                                              (pro hac vice forthcoming)
                                              Constitutional Law Center

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                                            *The Constitutional Law Center
                                            for Muslims in America
                                            is the legal division of the
                                            Muslim Legal Fund of America

                                            Attorneys for Defendant AMP


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 24th day of May 2024, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to
all counsel of record.

                                            /s/ George R.A. Doumar
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